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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 STATE OF NEW JERSEY, et al.

                                Plaintiffs,

                                                                  No. 1:25-cv-10139
        v.

 DONALD J. TRUMP, et al.

                                Defendants.



      MOTION FOR ADMISSION PRO HAC VICE OF LEONARD GIARRANO IV

       Pursuant to Local Rule 83.5.3, I, Katherine Connolly Sadeck, a member of the bar of this

Court and counsel of record for Plaintiff the State of Rhode Island, hereby move the admission pro

hac vice of attorney Leonard Giarrano IV, a member of the bar of Rhode Island, to serve as counsel

for Plaintiff the State of Rhode Island in this matter.

       As set forth in the accompanying certification, Leonard Giarrano IV is (1) a member in

good standing of the bar of every jurisdiction to which he has been admitted to practice, (2) is not

the subject of disciplinary proceedings pending in any jurisdictions in which he is a member of the

bar, (3) has not previously had a pro hac vice admission to this Court (or other admission for a

limited purpose under Local Rule 83.5.3) revoked for misconduct, and (4) has read and agreed to

comply with the Local Rules of this District.

       WHEREFORE, this Court should admit attorney Leonard Giarrano IV pro hac vice to the

bar of this Court.




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January 23, 2025                       Respectfully submitted,

                                       PETER F. NERONHA
                                        ATTORNEY GENERAL OF RHODE ISLAND

                                       /s/ Katherine Connolly Sadeck
                                       Katherine Connolly Sadeck (MA Bar No.
                                       681501)
                                        Solicitor General
                                       Rhode Island Office of the Attorney General
                                       150 South Main Street
                                       Providence, RI 02903
                                       Tel: (401) 274-4400, Ext. 2480
                                       Fax: (401) 222-2995
                                       ksadeck@riag.ri.gov

                                       Counsel for the State of Rhode Island




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                         CERTIFICATE OF SERVICE

       I hereby certify that I filed the within document with the Clerk of the United
States District Court, District of Massachusetts, via the CM/ECF filing system on
this 23rd day of January, 2025 and that a copy is available for viewing and
downloading by counsel of record.



                                              /s/ Katherine Connolly Sadeck
